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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

 PAULA STANSON,

                  Plaintiff,
                                         CASE NO.:
                     vs.

 UNITED SPACE COAST
 CABLES, INC., Florida Profit
 Corporation

             Defendant.
 __________________________________/

            COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, PAULA STANSON, (hereinafter referred as “Plaintiff”), by and

through the undersigned counsel, hereby files this Complaint against

Defendant UNITED SPACE COAST CABLES, INC., (hereinafter referred as

“UNITED SPACE COAST” or “Defendant”), and alleges the following:

                               INTRODUCTION

      1.    This is a disability discrimination and retaliation case brought by

Plaintiff, pursuant to the Americans with Disabilities Act, 42 U.S.C. §12101,

et seq., as amended by the ADA Amendments Act of 2008 (“ADA”) and seeks

damages, including back pay, liquidated damages, compensatory and punitive

damages, front pay, declaratory and injunctive relief, as well as her attorneys’

fees and costs.
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                                 JURISDICTION

      2.     The acts and omissions giving rise to this action occurred in Brevard

County, Florida.

      3.     Plaintiff was employed by Defendant in West Melbourne, Florida.

      4.     Defendant manufacturers custom cable assemblies and wire

harnesses.

      5.     This is an action at law raises a federal question under federal law,

specifically the ADA. This Court has jurisdiction over this matter pursuant to

28 U.S.C. §1331.

      6.     Plaintiff has satisfied all administrative prerequisites to perfect her

claim. Plaintiff filed a Charge of Discrimination with the Equal Employment

Opportunity Commission (“EEOC”), incorporated herein, attached hereto and

marked as Exhibit A, and the EEOC issued a notice of right to sue attached

hereto and marked as Exhibit B. Plaintiff brings this suit within ninety (90)

days of receipt of her notice of right to sue.

                                      VENUE

      7.     Venue is proper in the United States District Court for the Middle

District of Florida pursuant to 28 U.S.C. § 1391 because a substantial part of the

events and omissions giving rise to the claims occurred within this District.

                                     PARTIES

      8.     Plaintiff worked for Defendant from September 2019 through


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January 2020.

      9.    Defendant was responsible for compensating Plaintiff in exchange

for the work and hours worked by Plaintiff.

      10.   At all times material, Plaintiff was an “employee” of Defendant as

defined by 42 U.S.C. § 1211(4) and a “qualified individual” as defined by 42

U.S.C. § 1211(8).

      11.   Plaintiff is protected by the ADA because, as the result of suffering

a stroke, she has increased pain, therefore, either:

            a.    Was suffering “a physical or mental impairment that
      substantially limits one or more her major life activities,” as
      envisioned by 42 U.S.C. § 12102 (1)(A);
            b.    Had “a record of such an impairment” because of her
      required medical leave, as envisioned by 42 U.S.C. § 12101(1)(B); or
            c.    Was “regarded as having such an impairment,” as
      envisioned by 42 U.S.C. § 12101(1)(C).

      12.   At all times material, Defendant was an “employer” as defined by 42

U.S.C. § 12111(5)(a) as well as a “covered entity” as defined by 42 U.S.C. §

12111(2).

      13.   In 2020, Defendant had 15 or more employees for each working day

in each of the 20 or more calendar weeks.

      14.   At all times relevant, Defendant was engaged in an industry

affecting commerce.

      15.   At all times relevant, Defendant was engaged in an activity affecting

commerce.


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        16.   At all times relevant, Defendant was engaged in commerce within

the meaning of 26 U.S.C. § 2611(1)

        17.   At all times relevant, Defendant was an “employer” as defined by 42

U.S.C. § 1211(5).

                          FACTUAL ALLEGATIONS

        18.   Plaintiff was hired as a Cable Technician on or about September

2019.

        19.   On or about November 4, 2019, Plaintiff noticed her hands were

hurting as a result of pushing cables into the harness.

        20.   Plaintiff reported this to Defendant, including the President of the

Company, Kailin Krim, and others.

        21.   On or about December 16, 2019, Plaintiff began to repeatedly ask

for information to begin the process of seeing a doctor for her hand.

        22.   Plaintiff was diagnosed with stenosing tenosynovitis, a disabling

condition under the ADA.

        23.   On January 29, 2020, Plaintiff was informed that her employment

with Defendant was terminated.

        24.   On October 12, 2020, Plaintiff filed an EEOC charge regarding her

discriminatory and retaliatory termination.

        25.   Defendant violated Plaintiff’s statutory rights to be free of disability

discrimination and retaliation in the workplace by: (1) terminating Plaintiff in


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retaliation; and/or (2) by failing to provide Plaintiff with, or even engage in any

meaningful dialogue regarding, a reasonable accommodation.

       26.   At the time of her termination Plaintiff was qualified for her

position.

       27.   At the time of her termination Plaintiff was able to perform the

essential functions of her job.

       28.   At no time during her employment did Defendant counsel or

otherwise discipline Plaintiff for failure to meet her job duties.

       29.   Defendant’s actions constitute discrimination in violation of the

ADA.

       30.   Defendant’s actions constitute retaliation in violation of the ADA.

                                COUNT I
                       DISABILITY DISCRIMINATION

       31.   Plaintiff realleges and adopts, as if fully set forth herein, the

allegations in paragraphs 1 through 30 above.

       32.   Plaintiff was a qualified individual with a disability.

       33.   Plaintiff was perceived as disabled by Defendant.

       34.   Defendant was Plaintiff’s employer as defined by the ADA-AA.

       35.   Defendant discriminated against Plaintiff because of her disability

in violation of the ADA-AA.

       36.   Defendant was Plaintiff’s employer as defined by the ADA-AA.



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        37.   Defendant discriminated and/or retaliated against Plaintiff because

she exercised her rights under the AD-AA.

        38.   Defendant   had    actual   or   constructive   knowledge    of   the

discriminatory/retaliatory conduct of Plaintiff’s supervisors.

        39.   Defendant’s acts and omissions negatively affected one or more

terms, conditions and/or privilege of Plaintiff’s employment.

        40.   Defendant’s conduct violated plaintiff’s right to be free from

discrimination/retaliation as guaranteed by the ADA-AA.

        41.   As direct, natural, proximate, and foreseeable results of the actions

of Defendant, Plaintiff has suffered injuries for which she is entitled to

compensation, including, but not limited to lost wages and benefits, future

pecuniary losses, emotional pain, suffering, inconvenience, mental anguish, loss

of enjoyment of life and other non-pecuniary losses.

        42.   Plaintiff has no plain, adequate or complete remedy at law for the

actions of Defendant’s, which have cause and continued to cause irreparable

harm.

        43.   Defendant’s violation of the ADA-AA was willful.

        WHEREFORE, Plaintiff respectfully requests that the Court enter a

judgment:

               a)     judgment in her favor and against Defendant for
        violation of the disability association provisions of the ADA-AA;



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           b)    judgment in her favor and against Defendant for
      damages including lost earnings, front pay, and/or all actual
      monetary losses suffered as a result of Defendant’s conduct;

            c)    judgment in her favor and against Defendant for her
      reasonable attorney’s fees and litigation expenses;

            d)   judgment in her favor and against Defendant for
      punitive damages;

            e)     judgment that Defendant’s practices toward Plaintiff
      violate Plaintiff’s rights under the ADA-AA; and

            f)    Issue an order granting such other and further relief as
      this Court deems just and equitable under the circumstances of this
      case.

                             COUNT II
               RETALIATION IN VIOLATION OF THE ADA

      44.   Plaintiff realleges and adopts, as if fully set forth herein, the

allegations in paragraphs 1 through 30 above.

      45.   Plaintiff requested a reasonable accommodation for her disability.

This constituted protected activity under the ADA-AA.

      46.   Upon information and belief, Defendant’s conduct, was, in whole or

in part, motivated by Plaintiff’s request for accommodation.

      47.   As a natural, proximate and foreseeable result of Defendant’s

actions, Plaintiff has suffered damages, including but not limited to lost wages

and benefits, future pecuniary losses, mental anguish, loss of dignity, and other

intangible injuries.

      48.   The conduct of Defendant’s management was in such reckless


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disregard of Plaintiff’s federal statutory rights against retaliation as to entitle

Plaintiff’s to recover an award of punitive damages to punish Defendant and to

deter it and others from such conduct in the future.

      49.   The retaliation Plaintiff suffered, in violation of her federal statutory

right to be free from such retaliation, constitutes irreparable harm for which

there is no adequate remedy at law.

      50.   Plaintiff is entitled to recover reasonable attorneys’ fees and

litigation expenses against Defendant.

      WHEREFORE, Plaintiff respectfully requests that the Court enter a

judgment:

            a)    Permanently enjoining Defendant, its officers, agents,
      servants, employees and all other persons in active concert or
      participation with it, from violating the provisions of 42 U.S.C. §
      12101, as amended, as to Plaintiff;

            b)    judgment against Defendant for the back pay and
      benefits to which Plaintiff would have been entitled but for
      Defendant’s retaliatory acts;

          c)       judgment     against       Defendant   for   compensatory
      damages;

            d)     judgment against Defendant for punitive damages;

           e)     Plaintiff her costs, including a reasonable attorneys’ fee,
      pursuant to 42 U.S.C. §§ 2000e-5(k), 12205 and 12117;

             f)    Plaintiff equitable relief in the form of an additional set-
      off for any negative tax consequences incurred by Plaintiff as the
      result of any damage award entered in her favor in this action; and



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           g)     Granting such other and further relief as the Court
      deems just.

                              JURY DEMAND

      Plaintiff, PAULA STANSON, hereby requests that upon trial of this

action, all issues be submitted to and determined by a jury except those issues

expressly reserved by law for determination by the Court.

      DATED this 14th day of June, 2021.

                                    Respectfully submitted,

                                    s/ Bruce A. Mount
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